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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:20-cv-2387-DPG


   LUIS MANUEL RODRIGUEZ, et al.,

                                   Plaintiffs,

            v.


   IMPERIAL BRANDS PLC, et al.,

                                   Defendants.


                           ORDER GRANTING MOTION TO APPEAR
                  PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
                 ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING
            THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for
   Justin L. Ormand, Consent to Designation, and Request to Electronically Receive Notices of
   Electronic Filing, pursuant to the Rules Governing the Admission, Practice, Peer Review, and
   Discipline of Attorneys in the United States District Court for the Southern District of Florida and
   Section 2B of the CM/ECF Administrative Procedures. This Court having considered the motion
   and all other relevant factors, it is hereby
            ORDERED AND ADJUDGED that:
            The Motion is GRANTED and Justin L. Ormand, may appear and participate in this action
   on behalf of Defendant Imperial Brands PLC. The Clerk shall provide electronic notification of
   all electronic filings to Justin L. Ormand, at Justin.Ormand@AllenOvery.com.
            DONE AND ORDERED in Chambers at Miami, Miami-Dade County, Florida, this
   day of            2020.




                                                        HONORABLE DARRIN P. GAYLES
                                                        UNITED STATES DISTRICT JUDGE

   Copies furnished to: All Counsel of Record
